     Case 1:17-cv-00041-ESC ECF No. 31 filed 01/12/18 PageID.164 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



WILLIAM SAAR,

              Plaintiff,                                   Hon. Ellen S. Carmody

v.                                                         Case No. 1:17-cv-41

TANGER FACTORY OUTLET
CENTERS, INC., et al.,

            Defendants.
____________________________________/

                                   ORDER AND JUDGMENT

              Consistent with the Opinion filed this day, Defendants’ Motion for Judgment on the

Pleadings, (ECF No. 26), is granted and Plaintiff’s complaint is dismissed. Because the Court

considered Plaintiff’s response (ECF No. 27) in resolving Defendants’ motion, Defendants’ Motion

to Strike the Untimely Filed Brief in Opposition to Defendants' Motion for Judgment on the Pleadings

(ECF No. 28) is denied.

              IT IS SO ORDERED.



Dated: January 12, 2018                                     /s/ Ellen S. Carmody
                                                           ELLEN S. CARMODY
                                                           U.S. Magistrate Judge
